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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

Charlotte Loquasto, et al.,                        §
                                                   §
               Plaintiffs,                         §
v.                                                 §        Civil Action No. 3:19-cv-01455-B
                                                   §       (Consolidated with Civil Action No.
Fluor Corporation, Inc., et al.                    §                3:19-cv-01624-B)
                                                   §
               Defendants.                         §

DEFENDANTS FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC., FLUOR
      INTERCONTINENTAL, INC., AND FLUOR GOVERNMENT GROUP
         INTERNATIONAL, INC.’S NOTICE OF INTENT TO FILE A
          REPLY IN SUPPORT OF THEIR OPPOSED MOTION FOR
             LEAVE TO FILE A REPLY APPENDIX [DOC. 68]

TO THE HONORABLE JANE J. BOYLE, UNITED STATES DISTRICT JUDGE:

        Pending before the Court is Defendants Fluor Corporation, Inc., Fluor Enterprises, Inc.,

Fluor Intercontinental, Inc., and Fluor Government Group International, Inc.’s (“Fluor”) Opposed

Motion for Leave to File an Appendix to the Reply in Support of their Rule 12(b)(1) Motion to

Dismiss and Motion for Summary Judgment under 28 U.S.C. § 2860(j) [Doc. 68] (“Motion for

Leave”). Plaintiffs filed a response in opposition to Fluor’s Motion for Leave on July 27, 2020

[Doc. 69]. Fluor files this Notice to advise the Court that Fluor intends to file a very brief reply in

support of the Motion for Leave under N.D.L.R. 7.1(f). Fluor respectfully requests that the Court

hold its decision on Fluor’s Motion for Leave until after Fluor files its brief reply. Fluor anticipates

filing the reply on or before August 4, 2020, which is within the fourteen-day timeframe under

Local Rule 7.1(f).


                                    [SIGNATURE PAGE FOLLOWS]




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                                              Respectfully submitted,

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                                      Certificate of Service

        The undersigned certifies that on July 31, 2020, Fluor served a true and correct copy of the
foregoing document on all known counsel of record via the Northern District’s CM/ECF filing
service under the Federal Rules of Civil Procedure and the Northern District Local Rules.


                                              /s/ Darrell L. Barger
                                              Darrell L. Barger




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